
Smith, J
We are of the opinion that where the sheriff has in his hands an execution against a certain person, collects the money from him thereon, and at the same .time holds an execution against the person to whom the money so collected would be payable, that such sheriff has the right to credit thereon so much of the same as is necessary to satisfy in whole or in part such execution This is the express statement of the law by Judge Swan, in his Treatise, page 282, and it seems entirely reasonable and proper In such case a return oh the facts by the sheriff upon the execution, will operate to discharge him from liability to pay the money so credited, to the judgment creditor, as otherwise he would have been bound to do
The judgment of the court of common pleas will be reversed, and the cause remanded for further proceedings
